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 7   Attorneys for Plaintiff,
 8   J.B., a Minor, by and through his
     Guardian Ad Litem, ROSE ESPARAZA
 9
10
11                       UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13
     J.B., a Minor, by and through his          Case No.: 2:19-cv-10607
14
     Guardian Ad Litem, ROSE
15   ESPARAZA,                                  PLAINTIFF’S APPLICATION
16
                                                FOR APPOINTMENT OF
                  Plaintiff,                    GUARDIAN AD LITEM
17         vs.
18
     COUNTY OF LOS ANGELES and
19   DOES 1 through 50 inclusive,
20
21                Defendants.
22
23      Applicant Rose Esparaza hereby files this Application and Order for
24
     Appointment of Guardian Ad Litem, by and through their counsel of record, Peter
25
26   L. Carr and Na’Shaun Neal of PLC LAW GROUP, APC:
27
28

                                            1
          PLAINTIFF’S APPLICATION FOR APPOINTMENT OF GUARDIAN AD LITEM
     ______________________________________________________________________________
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 1     1. Applicant: Rose Esparaza is the biological mother and legal guardian of
 2          minor J.B. Ms. Esparaza has legal custody of minor J.B.
 3
       2. This application seeks the appointment of the following person as Guardian
 4
 5          Ad Litem:
 6
                         Rose Esparaza
 7
 8     3. The Guardian Ad Litem is to represent the interests of the following:
 9
                         minor, J.B. who was born on July 16, 2003.
10
       4. The Court should appoint a Guardian Ad Litem because the person named in
11
12          item #3 has causes of action on which suit should be brought. Minor J.B.
13
            has filed a lawsuit alleging civil rights violations, including but not limited
14
15          to excessive force, unlawful arrest and inadequate medical care suffered by
16
            J.B. as a result of Los Angeles Sheriff’s Department Deputies’ actions and
17
18          inactions.

19     5. The appointment of a Guardian Ad Litem is necessary because said person is
20
            minor.
21
22     6. The proposed Guardian Ad Litem’s relationship to the minor will be
23
            representing him as follows: biological mother and legal guardian.
24
25   ///
26   ///
27
     ///
28

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          PLAINTIFF’S APPLICATION FOR APPOINTMENT OF GUARDIAN AD LITEM
     ______________________________________________________________________________
         Case 2:19-cv-10607 Document 4 Filed 12/16/19 Page 3 of 3 Page ID #:33




 1      7. The proposed Guardian Ad Litem is fully competent and qualified to
 2         understand and protect the rights of the minor. She will represent the minor
 3
           and has no interests adverse to the interests of the minor.
 4
 5   December 16, 2019                             /s/ Na’Shaun L. Neal
 6
                                                   _________________________
                                                   Na’Shaun L. Neal
 7                                                 Attorney for Plaintiff J.B., a minor
 8                                                 by and through her Guardian Ad
                                                   Litem, Rose Esparaza
 9
10
                                       VERIFICATION
11
           I, Rose Esparaza, am the mother of the Plaintiff in the above-entitled
12
13
     proceeding. I have read the foregoing petition and know the contents thereof. Said

14   application is true of my own knowledge, except as to those matters which are
15   presented on an information and belief, and as to those matters, I believe them to
16   be true.
17         I declare under penalty of perjury under the laws of the State of California
18   that the foregoing is true and correct.
19
20
     November 7, 2019                                    __________________
21                                                       Rose Esparaza
22
                              CONSENT OF APPOINTMENT
23
           I hereby consent to act as guardian ad litem for the minor J.B.
24
25
26
     November 7, 2019                                    __________________
27                                                       Rose Esparaza
28

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          PLAINTIFF’S APPLICATION FOR APPOINTMENT OF GUARDIAN AD LITEM
     ______________________________________________________________________________
